                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 06-CR-336

FRANCISCO AGUILERA
               Defendant.


                               SENTENCING MEMORANDUM

       Defendant Francisco Aguilera pleaded guilty to conspiracy to distribute 500 grams or

more of cocaine, 21 U.S.C. §§ 841(a)(1), (b)(1)(B) & 846, and I set the case for sentencing.

In imposing sentence, I first calculate and consider the sentence recommended by the advisory

sentencing guidelines. Then, to ascertain the actual sentence, I apply the factors set forth in

18 U.S.C. § 3553(a) to the facts and circumstances of the defendant’s particular case. E.g.,

United States v. Bush, 523 F.3d 727, 729 (7th Cir. 2008).

                                        I. GUIDELINES

       Defendant’s pre-sentence report (“PSR”) set a base offense level of 26, U.S.S.G. §

2D1.1(c)(7), then subtracted 3 levels for acceptance of responsibility, § 3E1.1, for a final level

of 23. It then assessed a criminal history category of IV, producing an imprisonment range of

70 to 87 months. I found these calculations correct and adopted them without objection.

                                        II. SENTENCE

A.     Section 3553(a) Factors

       Section 3553(a) directs the court to consider:

       (1)    the nature and circumstances of the offense and the history and



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              characteristics of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a). After considering these factors, the court must impose a sentence that

is “sufficient but not greater than necessary” to satisfy the purposes of sentencing set forth in

§ 3553(a)(2).     The district court must give respectful consideration to the guidelines in

determining a sufficient sentence, Gall v. United States, 128 S. Ct. 586, 594 (2007), but it may

not presume that the guideline sentence is the correct one, Rita v. United States, 127 S. Ct.

2456, 2465 (2007).

B.     Analysis

       1.     The Offense

       In August 2005, the government began investigating a cocaine distribution organization

in the Waukesha, Wisconsin area, which led to the issuance of several wiretaps. Through



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these interceptions, the government learned that defendant received cocaine from Javier

Aguilera, his cousin and one of the main participants in the conspiracy. The government

intercepted about twenty drug-related calls between the two, which revealed that defendant

obtained ½ to 2 ounce quantities of cocaine from Javier. The government further learned that

Javier directed his smaller customers to this defendant to obtain cocaine. The parties agreed

that defendant should be held responsible for a total of 500 grams to 2 kilograms of cocaine.

       2.     The Defendant

       Defendant was twenty-five years old, with a modest prior record: juvenile adjudications

for drug possession, drug delivery and robbery; and adult convictions for possession of THC

and possession of an illegally obtained prescription. His state probation on the final matter was

revoked based on the instant indictment.

       Defendant admitted a long history of substance abuse, going back to age eleven. He

stated that his cocaine use increased during his involvement in this conspiracy due to easy

access. He attempted counseling in the past, without success, and admitted to the PSR writer

that he needed help. He also needed to enhance his educational and vocational skills;

although he earned an HSED while confined at the Ethan Allen juvenile facility, his employment

record was spotty, and he lost several jobs due to poor attendance.

       There were some positives in defendant’s background. He had been in a long-term

relationship and shared a nine year old child with his girlfriend. He appeared to be involved in

his child’s life, and his mother-in-law spoke favorably about him at sentencing. She stated that

he had helped remodel her home while on bond in this case, without charge. I was also

impressed by defendant’s allocution at sentencing. He stated that he had plans for the future

and intended to study culinary arts. He also apologized for his conduct and the effect it had

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on the community and his family. He was also cooperative with the government from the

outset of this case.

       3.     Guidelines and Purposes of Sentencing

       The guidelines called for a term of 70-87 months, and the statute required at least 60

months. Under all of the circumstances, I found a sentence of 60 months sufficient. The

offense was not aggravated by violence or weapon possession, and it appeared that

defendant’s involvement was based on his own drug addiction and the ease of access

occasioned by the involvement of his family members in dealing. It also appeared that he was

not a significant dealer in his right; rather, he serviced those customers Javier directed to him.

Therefore, five years was sufficient to provide just punishment. See 18 U.S.C. § 3553(a)(2)(A).

       Defendant had never been to prison before, so I found the minimum term sufficient to

deter him from re-offending. See 18 U.S.C. § 3553(a)(2)(B); see also United States v. Qualls,

373 F. Supp. 2d 873, 877 (E.D. Wis. 2005) (“Generally, a lesser period of imprisonment is

required to deter a defendant not previously subject to lengthy incarceration than is necessary

to deter a defendant who has already served serious time yet continues to re-offend.”). I also

concluded that 60 months was sufficient to protect the public. See 18 U.S.C. § 3553(a)(2)(C).

Although defendant had some prior record, I concluded that criminal history category IV

somewhat overstated the severity of that record. See U.S.S.G. § 4A1.3(b). Defendant had no

prior adult felony convictions, unlike most offenders in category IV, and most of his convictions

appeared to be related, in one way or another, to substance abuse. In category III, a sentence

of 60 months is slightly above the low end of the range. I also considered the fact that

defendant’s state probation was revoked based on this indictment, which resulted in him

serving 90 days in jail. That revocation sentence, in turn, increased the scoring related to this

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prior offense from 1 criminal history point to 2, in addition to the 2 points defendant received

under U.S.S.G. § 4A1.1(d) (which moved him from category III to IV). That state matter, which

involved the possession of just one Valium pill, did not appear serious enough to warrant a

significant increase in the sentence in this case, on top of the revocation sentence he had

already served.

                                      III. CONCLUSION

       Therefore, I committed defendant to the custody of the Bureau of Prisons for 60 months,

with a recommendation that he participate in any substance abuse treatment programs

available, including the 500 hour program. Upon release, I ordered him to serve four years of

supervised release, with a drug aftercare and other conditions that appear in the judgment.

       Dated at Milwaukee, Wisconsin, this 10th day of October, 2008.


                                          /s Lynn Adelman
                                          ________________________________________
                                          LYNN ADELMAN
                                          District Judge




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